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                   EXHIBIT 2
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                                              Delaware                                         Page 1

                                                          The First State



                I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

       DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

       COPY OF THE CERTIFICATE OF DISSOLUTION OF “ASPIRO, INC.”, FILED

       IN THIS OFFICE ON THE FIFTEENTH DAY OF APRIL, A.D. 2014, AT

       3:32 O`CLOCK P.M.




   2958949 8100                                                                Authentication: 202996901
   SR# 20185473123                                                                         Date: 07-02-18
   You may verify this certificate online at corp.delaware.gov/authver.shtml
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